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                      UNITED STATES DISTRICT COURT        AUGUST 4, 2017
                     EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                        EASTERN DISTRICT OF
                                                                            CALIFORNIA


UNITED STATES OF AMERICA,                      Case No. 2:11-CR-00450-TLN

                 Plaintiff,

      v.                                               ORDER FOR RELEASE OF
                                                        PERSON IN CUSTODY
VERA ZHIRY,

                 Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release VERA ZHIRY , Case No. 2:11-

CR-00450-TLN Charges 18 U.S.C. § 1349 and 18 U.S.C. § 1957, from custody for

the following reasons:

                         Release on Personal Recognizance

                         Bail Posted in the Sum of $

                                Unsecured Appearance Bond $

                                Appearance Bond with 10% Deposit

                                Appearance Bond with Surety

                                Corporate Surety Bail Bond

                                (Other): Released pending disposition of appeal and

                                shall remain on the same conditions that were

                           X    established for defendant’s pretrial release. The

                                defendant shall report to Pretrial Release by 9:00 AM

                                the first business day following her release.

      Issued at Sacramento, California on August 4, 2017.




                                      By:

                                            District Judge Troy L. Nunley
